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 1   GARMAN TURNER GORDON LLP
     GREGORY GARMAN, ESQ.
 2   Nevada Bar No. 6654
     Email: ggarman@gtg.legal
 3   TALITHA GRAY KOZLOWSKI, ESQ.
     Nevada Bar No. 9040
 4   Email: tgray@gtg.legal
     MARY LANGSNER, Ph.D.
 5   Nevada Bar No. 13707
     Email: mlangsner@gtg.legal
 6   7251 Amigo Street, Suite 210
     Las Vegas, Nevada 89119
 7   Tel: 725.777.3000
     [Proposed] Attorneys for Michael Carmel,
 8   Chapter 11 Trustee

 9                            UNITED STATES BANKRUPTCY COURT

10                                      DISTRICT OF NEVADA

11   In re:                                             CASE NO. BK-21-14978-ABL

12   SILVER STATE BROADCASTING, LLC,                    Chapter 11

13     AFFECTS THIS DEBTOR                              Jointly Administered with:

14     AFFECTS GOLDEN STATE                             Golden State Broadcasting, LLC
       BROADCASTING, LLC                                Case No. 21-14979-ABL
15
       AFFECTS MAJOR MARKET                             Major Market Radio, LLC
16     RADIO, LLC                                       Case No. 21-14980-ABL

17     AFFECTS ALL DEBTORS
18

19       EX PARTE APPLICATION FOR ORDER SHORTENING TIME TO HEAR
          MOTION FOR ORDER PURSUANT TO 11 U.S.C. §§ 363 AND 105 AND
20
     BANKRUPTCY RULES 6004 AND 2002 AUTHORIZING CHAPTER 11 TRUSTEE TO
21   ENTER INTO PROGRAMMING AGREEMENTS AND USE REVENUE GENERATED
         TO RECOUP OPERATIONAL COSTS OF THE RESPECTIVE STATIONS
22
              Michael Carmel, in his capacity as the Chapter 11 trustee (“Trustee”) of the bankruptcy
23
     estates of Silver State Broadcasting, LLC, Golden State Broadcasting, LLC, and Major Market
24
     Radio, LLC (collectively, the “Debtors”), by and through proposed undersigned counsel, the law
25
     firm Garman Turner Gordon LLP, hereby submits this Ex Parte Application for Order
26
     Shortening Time to Hear Motion for Order Pursuant to 11 U.S.C. §§ 363 and 105 and
27
     Bankruptcy Rules 6004 and 2002 Authorizing Chapter 11 Trustee to Enter Into Programming
28


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 1   Agreements and Use Revenue Generated to Recoup Operational Costs of the Respective Stations

 2   (“Ex Parte Application”)1 seeking entry of an order shortening time to hear the Motion for Order

 3   Pursuant to 11 U.S.C. §§ 363 and 105 and Bankruptcy Rules 6004 and 2002 Authorizing

 4   Chapter 11 Trustee to Enter Into Programming Agreements and Use Revenue Generated to

 5   Recoup Operational Costs of the Respective Stations (“Motion”), on May 1, 2023, at 1:30 p.m.

 6   prevailing Pacific Time with other hearings currently scheduled in these Chapter 11 Cases, or at

 7   the Court’s earliest availability.

 8            This Ex Parte Application is made and based upon FED. R. BANKR. P. 9006; the

 9   Memorandum of Points and Authorities herein; the declaration of Mary Langsner, Ph.D.

10   (“Langsner Decl.”) filed concurrently herewith pursuant to Local Rules of Bankruptcy Practice

11   of the United States Bankruptcy Court for the District of Nevada (“LR”) 9014(c)(2); the

12   Attorney Information Sheet filed concurrently herewith; and the papers and pleading on file in

13   the Chapter 11 Cases, judicial notice of which is respectfully requested pursuant to FED. R. EVID.

14   201(b) and (c) and 1101(a) and (b).

15            WHEREFORE, the Trustee respectfully requests that this Honorable Court grant this Ex

16   Parte Application and issue an order shortening time to hear the Motion on May 1, 2023, at 1:30

17   p.m. prevailing Pacific Time, or at the Court’s earliest availability, and for such other and further

18   relief as the Court deems just and proper.

19                          MEMORANDUM OF POINTS AND AUTHORITIES

20                                             I.
                               DECLARATION OF MARY LANGSNER, PH.D.
21

22            I, Mary Langsner, hereby declare under penalty of perjury under the laws of the State of

23   Nevada and the United States of America, as follows:

24            1.       I am over the age of 18 and am mentally competent. Garman Turner Gordon is

25   proposed counsel to the Chapter 11 Trustee (“Trustee”) of the bankruptcy estates of Silver State

26   Broadcasting, LLC, Golden State Broadcasting, LLC, and Major Market Radio, LLC

27   1
       Unless otherwise noted herein, all capitalized undefined terms used herein shall be ascribed the meanings set forth
28   in the Motion.



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 1   (collectively, the “Debtors”).

 2          2.      I make this declaration in support of the Ex Parte Application to hear the Motion.

 3   Except as otherwise indicated, the facts set forth in this Declaration are based upon my personal

 4   knowledge or information learned from my review of relevant documents. If called upon to

 5   testify as to the content of this Declaration, I could and would do so.

 6          3.      In the Motion, the Trustee seeks entry of an order authorizing him to enter into the

 7   Agreements with the Programmer, to use revenue generated thereby to recoup expenses incurred

 8   in operating the stations subject of the Agreements, and, if sufficient revenue remains after

 9   expenses are paid, to split net revenue with the Programmer.

10          4.      A hearing on the Motion is requested on shortened time because, if approved, the

11   Motion enables the Trustee to move forward with generating revenue for the estates in a very

12   short period of time, and, under such circumstances, allowing the full twenty-eight day period

13   under Local Rule and allowing the full twenty-one day period under the applicable Bankruptcy

14   Rule, to pass, before the Motion is heard by this Court commensurately delays the “start date” at

15   which the estates can begin generating revenue through operation of the stations pursuant to the

16   Agreements.

17          5.      Presently, the status conference noticed by the Trustee and set by this Court is

18   scheduled to take place on May 1, 2023, at 1:30 p.m. prevailing Pacific Time.

19          I declare under penalty of perjury of the laws of the State of Nevada and the United

20   States of America that these facts are true to the best of my knowledge and belief.

21          Dated this 25th day of April, 2023.

22
                                                    /s/ Mary Langsner
23                                                     MARY LANGSNER
24                                               II.
                                           LEGAL ARGUMENT
25
            Section 105, Title 11 United States Code (the “Bankruptcy Code”) allows this Court to
26
     issue such orders as are necessary to carry out the provisions of this title. FED. R. BANKR. P.
27
     9006(c)(1) generally permits a Bankruptcy Court, for cause shown and in its discretion, to reduce
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 1   the period during which any notice is given in accordance with the Bankruptcy Rules.

 2   Bankruptcy Rule 9006(c)(1) provides as follows:

 3                  Except as provided in paragraph (2) of this subdivision, when an
                    act is required or allowed to be done at or within a specified time
 4                  by these rules or by a notice given thereunder or by order of court,
                    the court for cause shown may in its discretion with or without
 5                  motion or notice order the period reduced.

 6   11 U.S.C. § 105. Local Rule 9006 provides further authority for shortening the time for a

 7   hearing. According to Local Rule 9006(b), every motion for an order shortening time must be

 8   accompanied by a declaration stating the reasons for an expedited hearing. As set forth in the

 9   Langsner Decl., there is a status conference set in these Chapter 11 Cases for May 1, 2023, at

10   1:30 p.m. prevailing Pacific Time. There are compelling reasons to hear the Motion at the same

11   date and time as the Status Conference, which is the Trustee’s first Status Conference with this

12   Court after the Trustee was appointed, as it is anticipated many if not most of the parties-in-

13   interest will be attending the Status Conference, and, therefore, having this Motion heard at the

14   same date and time affords the best opportunity for the Motion to be presented and argued before

15   these parties-in-interest. Additionally, the Estates have administrative expenses and, as such,

16   generating revenue as soon as possible is important and in the best interests of creditors.

17          Local Rule 9006 requires the moving party to submit an Attorney Information Sheet

18   indicating whether opposing counsel was provided with notice, whether opposing counsel

19   consented to the hearing on an order shortening time, the date counsel was provided with notice

20   and how notice was provided or attempted to be provided. An Attorney Information Sheet has

21   been filed contemporaneously with this Ex Parte Application.

22          Additionally, FED. R. BANKR. P. 6004(a) provides, inter alia, that “Notice of a proposed

23   use, sale, or lease of property, other than cash collateral, not in the ordinary course of business

24   shall be given pursuant to Rule 2002(a)(2), . . .” FED. R. BANKR. P. 2002(a)(2) provides in

25   pertinent part that (except in circumstances inapplicable here), at least twenty-one days’ notice

26   shall be given of “a proposed use, sale, or lease of property of the estate other than in the

27   ordinary course of business, unless the court for cause shown shortens the time or directs another

28   method of giving notice[.]” Through this Ex Parte Application, the Trustee respectfully proffers


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 1   that cause exists to grant the shortening of time on the Trustee’s Motion, to allow a hearing on

 2   the Motion to take place before twenty-one days after the Motion’s filing, as permissible under

 3   FED. R. BANKR. P. 2002(a)(2) upon the Court’s finding of cause shown. The Trustee respectfully

 4   proffers that the circumstances set forth in this Ex Parte Application, the Langsner Decl., and

 5   papers and pleadings on file in these Chapter 11 Cases, judicial notice of which is respectfully

 6   requested, warrant a finding that cause exists to shorten the time for a hearing on the Trustee’s

 7   Motion, as permitted by the Rule.

 8                                               III.
                                              CONCLUSION
 9
            WHEREFORE, the Trustee respectfully requests that this Court grant this Ex Parte
10
     Application and issue an order substantially in the form attached hereto as Exhibit 1, shortening
11
     the time to hear the Motion Monday May 1, 2023, at 1:30 p.m. prevailing Pacific Time or at the
12
     Court’s earliest availability; and other and further relief as the Court deems just and proper.
13
            Dated this 25th day of April, 2023.
14
                                                       GARMAN TURNER GORDON LLP
15

16                                                 By: /s/ Mary Langsner
                                                      GREGORY E. GARMAN, ESQ.
17                                                    TALITHA GRAY KOZLOWSKI, ESQ.
                                                      MARY LANGSNER, Ph.D.
18                                                    7251 Amigo Street, Suite 210
                                                      Las Vegas, Nevada 89119
19                                                    [Proposed] Attorneys for Michael Carmel,
                                                      Chapter 11 Trustee
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